       Case 2:10-cv-01830-MHB Document 1 Filed 08/26/10 Page 1 of 6



 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
 3   Phoenix, AZ 85012
 4
     602 445 9819
     866 565 1327 facsimile
 5   mmeyers@AttorneysForConsumers.com
 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Thelma Addo,                       ) Case No.
10
                                        )
     Plaintiff,                         ) COMPLAINT AND TRIAL BY JURY
11                                      ) DEMAND
            vs.                         )
12
                                        )
13   Rosenthal, Stein & Associates, LLC,)
     Sharise Williams and Shimeka Necole)
14
     Dale,                              )
15                                      )
     Defendants.                        )
16

17
                                       NATURE OF ACTION
18
             1.    This is an action brought under the Fair Debt Collection Practices Act
19

20   (“FDCPA”), 15 U.S.C. § 1692 et seq.
21
                                   JURISDICTION AND VENUE
22
             2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23

24   1331.
25
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
26
     the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
27

28   Plaintiff resides in this district), and/or where Defendants transact business in this district.




                                               Complaint - 1
       Case 2:10-cv-01830-MHB Document 1 Filed 08/26/10 Page 2 of 6



 1                                           PARTIES
 2
            4.     Plaintiff, Thelma Addo (“Plaintiff”), is a natural person who at all relevant
 3

 4
     times resided in the State of Arizona, County of Pinal, and City of Queen Creek.

 5          5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 6
            6.     Defendant, Rosenthal, Stein & Associates, LLC (“Rosenthal”) is an entity
 7

 8
     who at all relevant times was engaged, by use of the mails and telephone, in the business

 9   of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
10
            7.     Defendant, Sharise Williams (“Williams”) is an individual who at all
11
     relevant times was engaged, by use of the mails and telephone, in the business of
12

13   attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
14
            8.     Defendant, Shimeka Necole Dale (“Dale”) is an individual who at all
15
     relevant times was engaged, by use of the mails and telephone, in the business of
16

17   attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
18
            9.     “Employees can be held personally liable under the FDCPA.” Robinson v.
19
     Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059 (C.D. Cal. 2009); see
20

21   Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008).
22          10.    Furthermore, “most district courts that have addressed the issue have held
23
     that the corporate structure does not insulate shareholders, officers, or directors from
24

25   personal liability under the FDCPA.” Schwarm v. Craighead, 552 F. Supp. 2d 1056,

26   1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael P. Margelefsky, L.L.C.,
27
     518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v. Kennedy, 491 F. Supp. 2d 891, 903
28
     (N.D.Cal.2006); Brumbelow v. Law Offices of Bennett & Deloney, P.C., 372 F.Supp.2d


                                             Complaint - 2
       Case 2:10-cv-01830-MHB Document 1 Filed 08/26/10 Page 3 of 6



 1   615, 618-21 (D. Utah 2005); Albanese v. Portnoff Law Assocs., Ltd., 301 F. Supp. 2d
 2
     389, 400 (E.D. Pa. 2004); Musso v. Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink
 3

 4
     v. First Credit Res., 57 F. Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F.

 5   Supp. 2d 639, 640 (N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38
 6
     (D. Utah 1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D.
 7

 8
     Cal.1995); Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).

 9          11.    Rosenthal, Stein & Associates, LLC, Sharise Williams and Shimeka Necole
10
     Dale (“Defendants”) are “debt collectors” as defined by 15 U.S.C. § 1692a(6).
11
                                   FACTUAL ALLEGATIONS
12

13          12.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
14
     owed or due, or asserted to be owed or due a creditor other than Defendants.
15
            13.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
16

17   owed or due a creditor other than Defendants, arise from a transaction in which the
18
     money, property, insurance, or services that are the subject of the transaction were
19
     incurred primarily for personal, family, or household purposes. Plaintiff incurred the
20

21   obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor
22   other than Defendants.
23
            14.    Defendants use instrumentalities of interstate commerce or the mails in a
24

25   business the principal purpose of which is the collection of any debts, and/or regularly

26   collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
27
     owed or due another.
28
            15.    Defendants stated to Plaintiff in a written communication dated June 25,


                                              Complaint - 3
       Case 2:10-cv-01830-MHB Document 1 Filed 08/26/10 Page 4 of 6



 1   2010 that “[o]ur office has made a decision to file a lawsuit against you to collect this
 2
     debt.”
 3

 4
              16.   Upon information and good faith belief, no member of Defendants’

 5   business is an attorney licensed in the State of Arizona, and said statement, when coupled
 6
     with Defendants’ business name and letterhead, which is designed to make Defendant
 7

 8
     Rosenthal appear to be a law firm, which it is not.

 9            17.   These circumstances would lead a least sophisticated consumer to believe
10
     that Defendants themselves had the authority to file suit against Plaintiff, which it did not,
11
     or that there was a greater level of meaningful attorney involvement in the collections
12

13   process than was true at the time the statements and representations were made. (15
14
     U.S.C. §§ 1692e(3), 1692e(10)).
15
              18.   Defendants left a voicemail for Plaintiff on Plaintiff’s employee voicemail
16

17   account in which Defendants stated “This is an important message for: Thelma Addo.
18
     This is Agent Hall calling from the offices of Rosenthal, Stein & Associates, LLC. A
19
     claim has been filed in my office for final proceedings today.           We need a formal
20

21   statement and verification of county from you today by 4 p.m. Eastern time. In order to
22   guarantee your protection and release you from this matter, immediate action is required.
23
     Your file number is 1104136303. You can reach me directly at 877-229-6609, or you
24

25   may press 0 now to speak to a live agent. Thank you.”

26            19.   Defendants did not identify itself as a debt collector in said message.
27
     Defendants, by this message, further made and implied threat to institute legal
28
     “proceedings” against Plaintiff immediately were Plaintiff to fail to return the message by


                                              Complaint - 4
       Case 2:10-cv-01830-MHB Document 1 Filed 08/26/10 Page 5 of 6



 1   4 p.m. Eastern time the day of the message, an action Defendants could not take, or did
 2
     not intend to take, further constituting a deceptive practice in connection with the
 3

 4
     collection of a debt. (15 U.S.C. §§ 1692e(10), 1692e(11)).

 5          20.      Defendants left Plaintiff multiple voicemails, and in each instance, failed to
 6
     identify themselves as debt collectors. (15 U.S.C. § 1692e(11)).
 7

 8
            21.      Defendants demanded a total of $695.16 from Plaintiff as payment for a

 9   debt in the amount of $360.00, the additional $335.16 comprising additional collection
10
     fees that were unreasonable and not authorized by the agreement underlying the alleged
11
     debt, and the total amount, having been stated to Plaintiff in a single sum, constituting a
12

13   misrepresentation of the amount of said alleged debt.           (15 U.S.C. § 1692e(2)(A),
14
     1692f(1)).
15
            22.      Defendants’ actions constitute conduct highly offensive to a reasonable
16

17   person, and as a result of Defendants’ behavior Plaintiff suffered and continues to suffer
18
     injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or
19
     emotional distress.
20

21                                 COUNT I ALL DEFENDANTS
22          23.      Plaintiff repeats and re-alleges each and every allegation contained above.
23
            24.      Defendants violated the FDCPA as detailed above.
24

25          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

26                a) Adjudging that Defendants violated the FDCPA;
27
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
28
                     amount of $1,000.00;


                                               Complaint - 5
     Case 2:10-cv-01830-MHB Document 1 Filed 08/26/10 Page 6 of 6



 1         c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 2
           d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
 3

 4
               action;

 5         e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 6
               allowed under the law;
 7

 8
           f) Awarding such other and further relief as the Court may deem just and

 9             proper.
10
                                     TRIAL BY JURY
11
        Plaintiff is entitled to and hereby demands a trial by jury.
12

13

14
               Respectfully submitted this 26th day of August, 2010
15
                              By: s/ Marshall Meyers
16
                              Marshall Meyers (020584)
17                            WEISBERG & MEYERS, LLC
                              5025 North Central Ave., #602
18
                              Phoenix, AZ 85012
19                            602 445 9819
                              866 565 1327 facsimile
20
                              mmeyers@AttorneysForConsumers.com
21                            Attorney for Plaintiff
22

23

24

25

26

27

28




                                          Complaint - 6
